           Case 1:19-cr-10141-LTS Document 59 Filed 09/06/19 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA,

          v.
                                                            Crim. No. 19-10141-LTS
 SHELLEY M. RICHMOND JOSEPH,

                 Defendant.



    DEFENDANT SHELLEY M. RICHMOND JOSEPH’S MOTION TO DISMISS THE
     INDICTMENT UNDER FEDERAL RULE OF CRIMINAL PROCEDURE 12(B)

        Defendant Shelly M. Richmond Joseph respectfully moves to dismiss the indictment

under Federal Rule of Criminal Procedure 12(b)(3)(B)(5) for failure to state an offense. The

grounds for this motion, which are explained in detail in the accompanying Memorandum of

Law, include: (1) that the prosecution is barred by judicial immunity; (2) that the indictment, on

its face, fails to state an offense under the federal obstruction of justice statutes; and (3) that, as

applied here, the statutes violate the Constitution.

        For the reasons set out in the accompanying Memorandum of Law, the indictment should

be dismissed under Federal Rule of Criminal Procedure 12(b)(3) for failure to state an offense.



                              REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 7.1(d), Defendant respectfully requests oral argument on this

motion.




                                                    1
         Case 1:19-cr-10141-LTS Document 59 Filed 09/06/19 Page 2 of 4



Dated: September 6, 2019                   Respectfully submitted,

                                           SHELLY M. RICHMOND JOSEPH

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                                       2
          Case 1:19-cr-10141-LTS Document 59 Filed 09/06/19 Page 3 of 4



                            LOCAL RULE 7.1 CERTIFICATION

       I hereby certify that I have conferred with counsel for the United States in a good-faith

attempt to resolve or narrow the issues involved in this motion, as required by Local Rule 7.1.


                                                            /s/ Thomas M. Hoopes
                                                            THOMAS M. HOOPES
          Case 1:19-cr-10141-LTS Document 59 Filed 09/06/19 Page 4 of 4



                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.


                                                               /s/ Thomas M. Hoopes
                                                               THOMAS M. HOOPES
